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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            OCALA DIVISION

CHERYL WEIMAR,

      Plaintiffs,

v.                                             CASE NO.: 5:19-cv-548-CEM-PRL

THE FLORIDA DEPARTMENT OF
CORRECTIONS, KEITH TURNER,
and RYAN DIONNE,

     Defendants.
________________________________/

                    PLAINTIFF’S NOTICE OF MOOTNESS

      COMES NOW, Plaintiff, Cheryl Weimar, by and through the undersigned

counsel, hereby files this Notice of Mootness stating as follows:

      1.     On December 3, 2019, Plaintiff filed her Emergency Motion for a

Preliminary Injunction, requesting that Plaintiff be transferred to an outside medical

facility so that she could receive the treatment necessary for her medical conditions,

chiefly her quadriplegia and illnesses flowing it.

      2.     On Wednesday, December 4, 2019, the Magistrate held a brief case

management hearing in response to the Emergency Motion discussing the case,

setting a briefing schedule, and setting a hearing on the Motion.

      3.     Subsequent to the hearing, on Thursday morning, December 5, 2019,

undersigned counsel learned that the Plaintiff was transferred to an outside medical
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facility. Undersigned counsel has requested the name of the facility and the basis for

transfer from counsel for FDC, but has not yet received a response.

      4.     At approximately 8:00 a.m. on Friday, December 6, 2019, FDC

informed undersigned counsel that Plaintiff is still at an outside medical facility. A

date of her return to the Women’s Reception Center was unknown and not provided

to the undersigned.

      5.     At this time, due to the Plaintiff being currently located at an outside

medical facility, and the fact that she is likely getting the care sought in the

Emergency Motion, Plaintiff asserts that the Motion, including its emergency nature,

is moot. Once undersigned counsel speaks to the Plaintiff and is able to obtain the

medical records from the outside hospital that Plaintiff is currently located at,

Plaintiff and undersigned counsel will only then be able to determine if the relief

requested is still needed. Thus, this Motion should be denied as moot due to

Plaintiff’s transfer and current placement at an outside medical facility, which, to the

best of undersigned’s knowledge and information, occurred subsequent to the filing

of the Motion and the Magistrate’s scheduling conference and Order dated

December 4, 2019.

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                                        /s/ Steven R. Andrews

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                                      Counsel for Plaintiff


                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has been

served by electronic service on this 6th day of December, 2019, to:

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                                      /s/ Steven R. Andrews
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